Case 8:14-cv-00811-JLS-AN Document 30 Filed 10/14/14 Page 1 of 1 Page ID #:177
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

Case No. SACV 14-811-JLS (ANx)                                    Date: October 14, 2014
Title: Pegatron Corp. v. Westinghouse Digital, LLC

Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

      Terry Guerrero                                                N/A
      Deputy Clerk                                             Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:              ATTORNEYS PRESENT FOR DEFENDANT:

       Not Present                                             Not Present

PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE WHY THIS
             CASE SHOULD NOT BE DISMISSED FOR LACK OF
             SUBJECT MATTER JURISDICTION


        The Court may raise the issue of subject matter jurisdiction at any time, sua
sponte. See U.S. Catholic Conference v. Abortion Rights Mobilization, 487 U.S. 72, 79
(1988). “If the court determines at any time that it lacks subject-matter jurisdiction, the
court must dismiss the action.” Fed. R. Civ. P. 12(h)(3).
        Plaintiff Pegatron Corp. filed the present action on May 23, 2014, asserting
diversity jurisdiction pursuant to 28 U.S.C. § 1332. (Compl., Doc. 1.) However, it
appears that the Court may lack diversity jurisdiction. Because Defendant Westinghouse
Digital, LLC is a limited liability company, the Court must consider the citizenship of
each of its members. See Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899
(9th Cir. 2006). The citizenship of each of Westinghouse’s members has not, however,
been alleged. Plaintiff’s Complaint states only that Westinghouse “is a limited liability
company organized under the laws of Delaware and has its principal place of business in
California.” (Compl. ¶ 5.)
        Accordingly, the Court ORDERS Plaintiff to show cause in writing no later than
October 20, 2014, why this action should not be dismissed for lack of subject matter
jurisdiction. If Plaintiff fails to respond by the above date, the Court will dismiss this
action.

                                                                      Initials of Preparer: tg




 
